 Case 1:07-cr-00041-IMK Document 54 Filed 08/21/07 Page 1 of 4 PageID #: 171



                 IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                 Plaintiff,

      v.                                  CRIMINAL NO. 1:07CR41
                                               (Judge Keeley)


DARNELL L. WASHINGTON,

                 Defendant.


          ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
     RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA BE ACCEPTED


      On August 1, 2007, defendant, Darnell L. Washington, appeared

before United States Magistrate Judge John S. Kaull and moved this

Court for permission to enter a plea of GUILTY to Count Three of

the Indictment. The defendant stated that he understood that the

magistrate   judge   is    not   a   United   States   District   Judge,     and

consented to pleading before the magistrate judge.            This Court had

referred the guilty plea to the magistrate judge for the purposes

of   administering   the    allocution    pursuant     to   Federal   Rule    of

Criminal Procedure 11, making a finding as to whether the plea was

knowingly and voluntarily entered, and recommending to this Court

whether the plea should be accepted.

      Based upon the defendant's statements during the plea hearing

and the testimony of Deputy Robert Timothy Ankrom, the magistrate

judge found that the defendant was competent to enter a plea, that

the plea was freely and voluntarily given, that the defendant was

aware of the nature of the charges against him and the consequences

of his plea, and that a factual basis existed for the tendered
    Case 1:07-cr-00041-IMK Document 54 Filed 08/21/07 Page 2 of 4 PageID #: 172



USA v. DARNELL L. WASHINGTON                                             1:07CR41

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
        RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA BE ACCEPTED

plea.        On August 2, 2007, the magistrate judge entered an order

finding a factual basis for the plea and recommending that this

Court accept the plea of guilty to Count Three of the Indictment.

        The magistrate judge also directed the parties to file any

written objections to the report and recommendation within ten (10)

days after service of the report and recommendation. The magistrate

judge further directed that failure to file objections would result

in a waiver of the right to appeal from a judgment of this Court

based on the report and recommendation.

        The parties did not file any objections.               Accordingly, this

Court finds that the magistrate judge's recommendation should be

AFFIRMED and ACCEPTS the plea of guilty to Count Three of the

Indictment.

        The Court ADJUGES the defendant GUILTY of the crime charged in

Count Three.         Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G.

§     6B1.1(c),      acceptance    of    the    proposed   plea   agreement   and

stipulated addendum to the plea agreement, is DEFERRED until the

Court has received and reviewed the presentence report prepared in

this matter.

        Pursuant to U.S.S.G. § 6A1 et seq., it is hereby ORDERED that:

        1.     The     Probation        Officer    undertake      a   presentence

investigation of DARNELL L. WASHINGTON and prepare a presentence

report for the Court;


                                            2
 Case 1:07-cr-00041-IMK Document 54 Filed 08/21/07 Page 3 of 4 PageID #: 173



USA v. DARNELL L. WASHINGTON                                                   1:07CR41

         ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
     RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA BE ACCEPTED

     2.        The Government and the defendant are to provide their

versions of the offense to the Probation Officer by September 4,

2007;

     3.        The   presentence       report   is    to   be    disclosed      to   the

defendant, defense counsel, and the United States on or before

October 5, 2007; however, the Probation Officer is directed not to

disclose       the       sentencing     recommendations         made     pursuant    to

Fed. R. Crim. P. 32(b)(6)(A);

     4.        Counsel shall file WRITTEN OBJECTIONS to the presentence

report       and   may    file   a    SENTENCING     MEMORANDUM        that   evaluates

sentencing factors the parties believe to be relevant under 18

U.S.C. § 3553(a) (including the sentencing range under the advisory

Guidelines) and explains any proposed sentence, on or before
October 19, 2007;

        5.     The Probation Officer shall submit to the Court the

presentence report with addendum on or before November 2, 2007; and

     6.        Sentencing hearing will be set by further order of the

Court.

     7.        The Court remanded the defendant to the custody of the

United States Marshals.

     It is so ORDERED.




                                           3
 Case 1:07-cr-00041-IMK Document 54 Filed 08/21/07 Page 4 of 4 PageID #: 174



USA v. DARNELL L. WASHINGTON                                       1:07CR41

         ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
     RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA BE ACCEPTED

     The Clerk is directed to transmit copies of this Order to

counsel of record, the defendant and all appropriate agencies.

DATED: August 21, 2007



                                   /s/ Irene M. Keeley
                                   IRENE M. KEELEY
                                   UNITED STATES DISTRICT JUDGE




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